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7

8                              IN THE UNITED STATES DISTRICT COURT
9                             FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                     )       Case No.: 2:16 CR 038 MCE
                                                   )
12
             Plaintiff,                            )       WITHDRAWAL OF DECLARATION OF
                                                   )       JOHN R. MANNING (ECF #73).
13                                                 )
     v.                                            )       Judge: Hon. Morrison C. England, Jr.
14                                                 )
     JAMAL SHEHADEH, et al.,                       )
15                                                 )
             Defendants.                           )
16                                                 )
                                                   )
17                                                 )
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20           Notice is hereby given to the Court and the government that the defendant, BRIAN
21   STONE, hereby withdraws the Declaration of John R. Manning (Docket #73) filed on March 13,
22
     2017.
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1    Pursuant to the court's ruling in response to Jamal Shehadeh's and the government's Request(s) to
2    Seal (ECF' #82 and ECF #83) as articulated in court on March 23, 2017, the Declaration and
3    Exhibits will be filed subsequently with an appropriate Request to Seal.
4

5                                                                       Respectfully submitted:
6    Dated: March 23, 2017                                               /s/ John R. Manning
7                                                                       JOHN R. MANNING
                                                                        Attorney for Defendant
8                                                                       Brian Stone
9

10                                               ORDER

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            IT IS SO ORDERED.
12   Dated: March 27, 2017
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